Case 1:05-cr-10056-.]DT Document 12 Filed 07/27/05 Page 1 of 2 PagelD 16
iN THE UN|TED STATES DiSTRlCT COURT
FOR THE WESTERN DlSTR|CT OF TENNESSEE :i; =:p \':1:'-.; ::i '
EASTERN D|VlSiON ` "
UNITED STATES OF AMERICA,

P|aintiff,

 

v. Cr. No. 05~10056
Ci-|RlSTY VVll_l_lAl\/lS,

Defendant.

 

ORDER ON ARRA[GN|V|ENT

 

This cause came to be heard on July 26, 2005. The Assistant United States Attorney
appeared on behalf of the government, and the defendant appeared in person and with the
following counsel, who is appointed:

NAIV|E: Dianne Smothers
ADDRESS:

TELEF’HONE:

The defendant, through counsei, waived formal arraignment and entered a plea of not
guilty.

A|l motions shall be filed within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended

i/ The defendant, Who is not in custody, may stand on his/her present bond.
The defendant, (not having made bond) (being a state prisoner) (being a federal

prisoner) (being held without bond pursuant to BRA of 1984), is remanded to the custody of the
U.S. l\/larshal.

r/‘_"'

S. THOlV|AS ANDERSON
United States l\/lagistrate Judge

Charges: possession of a stolen weapon
Assistant U.S. Attorney assigned to case: Powell

Rule 32 was not waived.
Defendant's age: XCZ

This document entered on the docket sheet in compliance

with Rule 55 and/or 32(b} FRch on 7 [-3 710 S /af)

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 12 in
case 1:05-CR-10056 Was distributed by faX, mail, or direct printing on
July 27, 2005 to the parties listed.

 

 

M. Dianne Smothers

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Honorable J ames Todd
US DISTRICT COURT

